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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

   ELIZABETH SINES, et al.,                      )       Civil Action No. 3:17-cv-00072
        Plaintiffs,                              )
                                                 )
   v.                                            )       ORDER
                                                 )
   JASON KESSLER, et al.,                        )
        Defendants.                              )       By:     Joel C. Hoppe
                                                 )               United States Magistrate Judge


          This case is set for a jury trial between October 25 and November 19, 2021, beginning at

   9:30 a.m. ET before Hon. Norman K. Moon, United States District Judge, at the United States

   District Courthouse in Charlottesville, Virginia. On August 26, Judge Moon denied Defendant

   James Alex Fields Jr.’s motion to attend trial in person, see ECF No. 1002, and invited Fields’s

   attorney to file a motion requesting measures to facilitate Fields’s remote access to trial

   proceedings and means of communication with counsel during trial, ECF No. 1033. Counsel

   states that Fields’s case manager, information technology staff, and other stakeholders at the

   Medical Center for Federal Prisoners in Springfield, Missouri, have worked with him to ensure

   Fields has appropriate remote access during trial. ECF No. 1038-1.

          Accordingly, Fields’s motion to permit his virtual attendance at trial, ECF No. 1038, is

   GRANTED. The Warden of MCFP Springfield is REQUESTED to have

                               JAMES ALEX FIELDS JR. #22239-084

   available via one-way videoconference so that he may listen to and observe proceedings in open

   court beginning on October 25, 2021 at 9:30 a.m. ET and continuing through the close of trial.

   The Warden also is requested to have Fields available to speak with his attorney via telephone

   during court recesses or as counsel deems appropriate.



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          The Clerk’s Office will send necessary log-in information to all counsel of record before

   October 25, 2021. Fields’s attorney shall promptly forward such information to the appropriate

   officials at MCFP Springfield.

          The Clerk is directed to send a certified copy of this Order to the parties, Fields’s case

   manager at MCFP Springfield, and the United States Marshals Service.

          IT IS SO ORDERED.



                                                         ENTER: October 18, 2021



                                                         Joel C. Hoppe
                                                         U.S. Magistrate Judge




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